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FLORENCE T. NAKARKUNI 2286
United States Attorney HED INTHE

; ; . STATES ‘fT COURT
District of Hawaii DATED ane SRSA u J
JONATHAN LOO BEC 18 2012_,) ™

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWATT
UNITED STATES OF AMERICA, MAG. NO. 12-01427 BMK
Plaintiff, CRIMINAL COMPLAINT

vs.

Alan L, MAPUATULI

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)
)
)
)
)
Defendant )
)

 

CRIMINAL COMPLAINT

 

I, the undersigned complainant being duly sworn, state the
following is true and correct to the best of my knowledge and
belief:

On or about December 17, 2012, in the District of Hawaii,
the defendant Alan L. MAPUATULI did knowingly and intentionally
possess with intent to distribute 50 grams or more of
methamphetamine, its salts, isomers and salts of its isomers, a
Schedule II controlled substance, in violation of Title 21,
United States Code, Sections 841(a) (1) and 841(b) (1) (A).
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I further state that I am a Special Agent of Homeland
Security Investigations and that this Complaint is based upon
the facts set forth in the attached "Affidavit in Support of
Criminal Complaint", which is incorporated herein by reference.

DATED: HONOLULU, HAWAII: December 18, 2012.”

Se

R¥an K. Faulkner
Special Agent, HSI

 

Sworn to and subscribed in my presence, this
1 day of December, 2012: ’

 
 
 

 

BARRY ™. KUREEN ———
UNITED STATES MAGISTRATE
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AFFIDAVIT OF RYAN K. FAULKNER

 

Ryan K. Faulkner, after being duly sworn, deposes and says

as follows:

1.

I am currently employed as a Special Agent of U.S.
Immigration and Customs Enforcement, Homeland Security
Investigations (hereinafter HSI). Additionally, I was
formerly employed as a Police Officer with the Honolulu
Police Department (hereinafter HPD). The duration of my
employment with the HPD lasted from October 1997 through
February 2007. As part of my employment with the HPD, I
have received approximately six months of comprehensive
training in general matters pertaining to law enforcement

in the State of Hawaii.

As a part of my employment with the HPD, I held various
investigative assignments with the Crime Reduction Unit,
Criminal Investigations Division, and Criminal Intelligence
Unit. As part of these assignments, I obtained specific
training in the recognition of various types of narcotics,
and the various methods of narcotics distribution as well
as different methods used to smuggle narcotics and related

proceeds of narcotics trafficking without detection.

IT am currently employed as a Special Agent with HSI, and
have been so employed for approximately six (6) years. As
part of my employment with HSI, I attended approximately
five and a half months of comprehensive law enforcement and
investigative training at the Federal Law Enforcement
Training Center (hereinafter FLETC). The training

successfully completed at the FLETC included, but was not
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limited to, general investigative techniques, criminal law,
immigration law, handling of evidence, narcotics detection
and identification, trends in smuggling of contraband,

among other topics.

As a HSI Special Agent, one of my duties and
responsibilities includes but is not limited to the
investigation of possible criminal violations of narcotics
trafficking (Title 21, United States Code, Section 841 et,
seq.), the Money Laundering Control Act (Title 18, United
States Code, Section 1956 et. seq.) and the Bank Secrecy
Act (Title 31, United States Code Section 5324 et. seq.).
As a former Officer with the HPD and current Special Agent,
IT have conducted and assisted in more than two hundred
(200) investigations involving narcotics trafficking and

financial crimes specified above.

On December 17, 2012, HPD officers observed a black colored
Ford Focus vehicle, bearing Hawaii license number RVA-932,
as it was traveling westbound on the H-1 Freeway. The
vehicle, which appeared to be occupied by only the driver,
exited at the School Street off ramp, and was observed to
cross over three lanes of traffic on School Street, causing
other vehicles to apply their brakes abruptly. The vehicle

then made a right turn onto Stillman Lane.

As a result of the erratic maneuver and unsafe lane change
of this vehicle, an HPD officer activated his blue lights
in an effort to stop this vehicle for the aforementioned
traffic violation, Unsafe Lane Change, pursuant to Section

291C-49(1) of the Hawaii Revised Statutes. The vehicle
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came to a stop without incident in front of 1651 Stillman

Lane.

HPD officers approached the vehicle. An HPD officer
initiated contact with the driver who was the lone occupant
of the vehicle. The male identified himself to officers as
Alan MAPUATULI (hereinafter “MAPUATULI”) verbally, and
stated that he did not have any form of ‘photo
identification. Based on the information provided by
MAPUATULI, officers conducted a State of California and
State of Hawaii Driver’s license check through HPD
dispatch. HPD dispatch informed the officers that
MAPUATULI did not have a State of Hawaii driver’s license,
and that his State of California driver's license had

expired in 2004.

Additional records checks of the aforementioned vehicle
bearing Hawaii license number RVA-932 revealed that the
vehicle was reported as an “overdue rental” by Hertz
Corporation on December 17, -2012. This report was
initiated under HPD report number 12-456646. (Note: This
type of police report is typically filed when the duration
of a. rental contract has lapsed, and no contact can be

established with the individual on the rental contract).

Based on the aforementioned facts and circumstances,
officers placed MAPUATULI under arrest for Driving Without
a Valid License, pursuant to Section 286-102 of the Hawaii
Revised Statutes. This arrest was effected without
incident. He was also issued a traffic citation for the

unsafe lane change. Based on the status of the rental
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10.

vehicle, officers informed MAPUATULI that the vehicle
needed to be returned to the Hertz Corporation. An HPD
officer Nihei asked MAPUATULI if any of the items in the
vehicle belonged to him. MAPUATULI replied by stating that
the box of chicken and two (2) cellular:telephones were the
only things that belonged to him, that he borrowed the
vehicle from a friend, and that he does not know anything
else about the bags in the vehicle. An HPD officer
retrieved a black colored Adidas brand bag from the trunk
area, held it up to MAPUATULI, and asked him whether this
specific bag belonged to him, to which he replied “no”.

The officer retrieved a dark colored “Coach” brand zippered
pouch from the Same area and asked MAPUATULI if that item
belonged to him, to which he replied “no”. The HPD officer
asked MAPUATULI if the other plastic bags within the
vehicle also belonged to him. “MAPUATULI repeated that
nothing in the car belonged to him, and the officer
informed him that they were going to check the bags for any
items that may establish rightful ownership, since the bags
were abandoned by MAPUATULI. This affirmative abandonment

was also witnessed by another HPD officer.

HPD officers transported MAPUATULI to the Kalihi Police
Station in a marked police vehicle. The abandoned bags
were placed in the trunk of the marked police vehicle. At
the Kalihi Police Station, I met with the HPD officers, who
informed me of the facts and circumstances of the traffic
stop and subsequent abandonment of items within the
vehicle. I then proceeded to open the black colored Adidas
brand bag, which contained miscellaneous clothing items, a

loaded Kimber, .45 caliber pistol, approximately 170 grams
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11.

12.

of a white crystalline substance that, based on my training
and experience, resembles crystal methamphetamine, and
approximately $15,975 in United States currency. A field
test conducted on the suspected crystal methamphetamine
yielded a presumptive positive result for the presence of
methamphetamine.

I then opened the “Coach” brand zippered pouch. Within
this pouch, I observed approximately 476 grams of a white
crystalline substance that, based on my training and
experience, resembles crystal methamphetamine. A field
test conducted on the suspected crystal methamphetamine
also yielded a presumptive positive result for the presence

of methamphetamine.

A search of MAPUATULI'’s person subsequent to his arrest by
HPD yielded approximately $1,515 in United States currency.
While at the Kalihi Police Station, I informed MAPUATULI
that he was being placed under arrest for Possession With

Intent to Distribute Methamphetamine.
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13. Methamphetamine is a Schedule II controlled substance.

FURTHER AFFIANT SAYETH NAUGHT.

 

 

B¥an K. Faulkner
Special Agent, HSI

This Criminal Complaint and Affidavit in support thereof were

presented to, approved by, and probable cause to believe that

the defendants above-named committed the charged crime were

found to exist by the undersigned Judicial Officer at Hi tzo
@ “Bem. on December | gy , 2012.

Subscribed and Sworn to Before Me,

)&" a of December 2012.

    

 

     
 

ED STATES MAGISTRATE JUDGE
